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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Southern District
                                                    __________ Districtofof
                                                                          New  York
                                                                            __________

The American Society for the Prevention of Cruelty to                )
                     Animals                                         )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 25-cv-5016
                                                                     )
                       Gordon Lavalette                              )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Gordon Lavalette
                                           400 Evergreen Avenue
                                           Bradley Beach, New Jersey 07720




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Lyle S. Zuckerman
                                           Davis Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:    06/16/2025                                                                                 /S/ V. BRAHIMI
                                                                                          Signature of Clerk or Deputy Clerk
